Case 3:16-cr-00411-VC Document 116-27 Filed 09/19/17 Page 1 of 2




                   Exhibit 30
                            Case 3:16-cr-00411-VC Document 116-27 Filed 09/19/17 Page 2 of 2
(22356 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                           6/19/17, 2)29 PM


    Home         Mail      Search       News         Sports     Finance        Celebrity       Weather       Answers       Flickr     Mobile      More


                                        All      Naum Morgovsky, search your mailbox                             Search Mail         Search Web          Home         N



                                   american royal            subject:"RE: "               subject:"Re: boxes"      RE: 26 boxes

     Compose                             Search results                          Archive                                  More


  Inbox (9999+)                         RE: 26 boxes
  Drafts (210)
                                        Website: www.arii.net

  Sent
                                        From: Naum Morgovsky [mailto:naummorgovsky@yahoo.com]
  Archive                               Sent: Monday, January 20, 2014 12:58 PM
                                        To: KC KHORRAMI
  Spam (25)
                                        Subject: Re: 26 boxes
  Trash
                                        Hi KC,
  Smart Views

    Important                           I have checked with SORL, the manufacturer of the oﬀ-axis collimator, and other multiple
    Unread                              sources, as well as with multiple sources pertaining to the laser engravers (ours is imported from
    Starred                             China), and confirmed that there are no export restrictions on either device. I was told that
                                        EAR99 is to be used for the ECCN numbers for both of them. Please file the export declaration
    People
                                        accordingly.
    Social
    Shopping                            Best regards, Naum
    Travel
    Finance
    silverman
                                        On Friday, January 17, 2014 2:48 AM, Naum Morgovsky <naummorgovsky@yahoo.com> wrote:
    mseymour
    bartfield
                                        On Thursday, January 16, 2014 11:00 AM, KC KHORRAMI <kc@arii.net> wrote:
    montgomery
                                        Hi Naum,
    seymour
                                        As I was filling the AES, it seems like the laser engraving machine and the collimator
    rosas                               are controlled items for Russia.
    cheo                                Do have the ECCN for these items.
                                        Tks
  Folders
                                        KC
    Drafts
    Notes
    Sent Messages
    untitled
                                        @rii
  Sponsored
                                        kc khorrami
                                        American Royal International, Inc.
                                        Freight Forwarder & Customs Broker
                                        1021 Washington Street, San Carlos, CA. 94070
                                        Tel: (650) 685-7330
  Direct Expose                         Fax: (650) 685-7334
  90% Can't Pass This
  American Westerns Quiz                E-mail: kc@arii.net
                                        Website: www.arii.net

                                        From: Naum Morgovsky [mailto:naummorgovsky@yahoo.com]
                                        Sent: Tuesday, January 14, 2014 9:54 PM
                                        To: KC
                                        Subject: Re: 26 boxes

                                        Hi KC,

                                        I left later than expected today and had to go to the airport shortly thereafter. My wife will bring
                                        the invoices and packing lists tomorrow.

                                        Thank you, Naum


https://mg.mail.yahoo.com/neo/launch?.rand=97vtsubdubq7m#7892350952                                                                                                  Page 1 of 1
